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Debtor 1 TeNeka S. McDaniel

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the: Eastern District of Pennsylvania

Case number _2211967

Official Form 41081
Notice of Mortgage Payment Change 12115

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

Name of creditor: i i -9
Wells Fargo Bank, N.A. Court claim no. (if known):

Date of payment change:
Must be at least 21 days after date

of this notice 06/01/2025
New total payment:

. : : $1147.18
Principal, interest, and escrow, if any

Last 4 digits of any number you use to
identify the debtor's account:

Ea Escrow Account Payment Adjustment

1. Will there be a change in the debtor’s escrow account payment?

( No

id Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe the basis
for the change. If a statement is not attached, explain why:

0 5 2

Current escrow payment: $ 221.96 New escrow payment: $ 665.04

ne Mortgage Payment Adjustment

2. Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
variable-rate account?

i No

UI Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
attached, explain why:

Current interest rate: % New interest rate: %

Current principal and interest payment: $ New principal and interest payment: $

i Other Payment Change

3. Will there be a change in the debtor’s mortgage payment for a reason not listed above?

4 No
LJ Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
(Court approval may be required before the payment change can take effect.)
Reason for change:

Current mortgage payment: $ New mortgage payment: $

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First Name iddle Name

Sign Here

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The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone number.

Check the appropriate box.
4 | am the creditor.

LJ | am the creditor's authorized agent.

| declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge,

information, and reasonable belief.

x /s/Angela M. Mills-Fowler

Date 94/16/2025

Signature

Print: FOWLER,ANGELA M. MILLS

VP Loan Documentation

First Name Middle Name

Company Wells Fargo Bank, N.A.

Last Name

Title

Address MAC N9286-01Y

Number Street
P.O. Box 1629

Address 2

Minneapolis

MN

55440-9790

City

Contact phone 800-274-7025

Official Form 410S1

State

ZIP Code

NoticeOfPaymentChangelnquiries@wellsfargo.com

Email

Notice of Mortgage Payment Change

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UNITED STAT#HS BANKRUPTCY COURT

Eastern District of Pennsylvania

Chapter 13 No. 2211967
Judge: Derek J Baker

In re:
TeNeka S. McDaniel
Debtor(s).

CERTIFICATE OF SERVICE

I hereby certify that this Notice, including all attachments, is being served on or before April 17, 2025 via filing with the US

Bankruptcy Court's CM ECF system or by mailing or providing a copy of this document to a vendor for mailing: By U.S. Postal
Service First Class Main Postage Prepaid or FedEx.

Debtor: By U.S. Postal Service First Class Mail Postage Prepaid or FedEx

TeNeka S. McDaniel
5623 Musgrave Street

Philadelphia PA 19144

By U.S. Postal Service First Class Mail Postage Prepaid or FedEx
N/A

Debtor’s Attorney: By Court's CM/ECF system registered email address

MICHAEL A. CIBIK

Cibik Law, P.C.
1500 Walnut Street

Suite 900
Philadelphia PA 19102

By Court's CM/ECF system registered email address
N/A

Trustee: By Court's CM/ECF system registered email address

KENNETH E. WEST
Office of the Chapter 13 Standing Trustee

190 N. Independence Mall West Suite 701
Philadelphia PA 19106

/s/Angela M. Mills-Fowler

VP Loan Documentation
Wells Fargo Bank, N.A.
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Return

Operations Review Statement
PO Box 14547 Document Pag e4 ihe informational purposes only
Des Moines, IA 50306-4547

Statement Date: April 8, 2025
Loan number: a
Property address:

5623 MUSGRAVE ST

PHILADELPHIA PA 19144

Customer Service

é Online Telephone

TENEKA $ MCDANIEL wellsfargo.com 800-340-0473
Correspondence Hours of operation

5623 MUSGRAVE ST PO Bar 10335 Mon-Fri 7am. -7 p.m. CT

PHILADELPHIA PA 19144-1313 Des Moines, IA 50306

To learn more, go to:
wellsfargo.com/escrow

We accept telecommunications relay service calls

Ifyou are in an active bankruptcy case or have received a discharge under the United
States Bankruptcy Code, this statement is being sent to you for informational
purposes only. The informational summaries below are based on the terms of the
loan.

These amounts are governed by the terms of the loan unless otherwise reduced by an

order of the bankruptcy court. Because the amounts billed for the escrow items can

change over time, we review the escrow account at least once per year to ensure there The escrow account has a shortage of
will be enough money to make these payments. Once the review is complete, we send $2,953.95

the escrow review statement, also known as the escrow account disclosure statement.

Here's what we found:
©@ Required Minimum Balance: The escrow account balance is projected to fall
below the required minimum balance. This means there is a shortage.

© Payments: As of the June 1, 2025 payment, the escrow portion of the payment
increases.

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The new total payment will be $1,147.18

ono 2028 mae Nae 06/ caftnee nar _

payment fe payment r r
Principal and/or interest $482.14 $482.14
Escrow payment $221.96 $665.04 Starting June 1, 2025 the new payment amount
Total payment amount $704.10 $1,147.18 will be $1,147.18

See the following pages for more detail.
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For the past review period, the amount of the escrow items was $5,026.63. For the coming year, we expect the amount paid from escrow to be
$5,026.63.

How was the escrow payment calculated?
To determine the escrow payment, we add the projected escrow items to be paid over the next 12 months. We base these projected amounts on any
escrow items that may have been paid in the past and any future anticipated payments to be made. We then divide the amounts by 12 payments to

determine the escrow amount.

The chart below includes any actual escrow disbursements as well as any shortage that may have been identified for the past three analysis periods up

through the date of the analysis.
Escrow comparison
New monthly
08/22-07/23 06/23-05/24 06/24 - 04/25 | 06/25 - 05/26
C ) (Actual) (Projected) # of escrow
months amount

Property taxes $838.48 $544.52 $1,248.63 $1,248.63 + 12 = $104.05
Property insurance $1,962.00 $2,119.00 $3,778.00 $3,778.00 + 12 = $314.83
Total taxes and insurance $2,800.48 $2,663.52 $5,026.63 $5,026.63 + 12 = CyB Let.)
Escrow shortage $0.00 $437.49 $0.00 CPt ys] + 12 = $246.16
Total escrow $2,800.48 $3,101.01 $5,026.63 $7,980.58 + 12 = $665.04

Projected escrow account activity over the next 12 months

To determine if there will be a shortage or overage in the account, we calculate whether the amount of the lowest projected escrow balance will be
greater or less than the required minimum balance. This is determined by subtracting the required minimum balance from the lowest projected
balance. If the outcome is positive, there is an overage. If it is negative, there is a shortage. The calculation is below:

Lowest projected escrow balance April 2026 ye ee Eo] ao ted in Part 4 - Escrow account projections

Minimum balance for the escrow account" - Pte y Ara

Escrow shortage = BR se Rls]

*The minimum balance includes a cash reserve to help cover any increase in taxes and/or insurance as allowed by state laws and/or the mortgage
contract. This account is set to a 2 month cash reserve amount. To calculate the cash reserve for the escrow account, we add the yearly escrow
payments, and divide by 6.
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Escrow account activity from April 2024 to May 2025

Deposits to escrow Payments from escrow Escrow balance

Date Actual Projected Difference Actual Projected Difference Description Actual Projected Difference
Apr 2024 Starting Balance $297.45
Apr 2024 $269.83 $171.23 ESC REFUND $396.05
May 2024 $269.83 $0.00 $665.88
Jun 2024 $221.96 $221.96 $0.00 $0.00 $0.00 $0.00 $887.84 $887.84 $0.00
Jul 2024 $221.96 $221.96 $0.00 $0.00 $0.00 $0.00 $1,109.80 $1,109.80 $0.00
Aug 2024 $221.96 $221.96 $0.00 $0.00 $0.00 $0.00 $1,331.76 $1,331.76 $0.00
Sep 2024 $221.96 $221.96 $0.00 $0.00 $0.00 $0.00 $1,553.72 $1,553-72 $0.00
Oct 2024 $221.96 $221.96 $0.00 $0.00 $0.00 $0.00 $1,775.68 $1,775.68 $0.00
Nov 2024 $221.96 $221.96 $0.00 $0.00 $0.00 $0.00 $1,997.64. $1,997.64. $0.00
Dec 2024 $221.96 $221.96 $0.00 $0.00 $0.00 $0.00 $2,219.60 $2,219.60 $0.00
Jan 2025 $221.96 $291.96 $0.00 $0.00 $0.00 $0.00 $2,441.56 $2,441.56 $0.00
Feb 2025 $221.96 $221.96 $0.00 $0.00 $0.00 $0.00 $2,663.52 $2,663.52 $0.00
Mar 2025 $221.96 $221.96 $0.00 $1,248.63 $544.52 $704.11 PHILADELPHIA CITY $1,636.85 $2,340.96 -$704.11
Mar 2025 $0.00 $0.00 $0.00 $3,778.00 $0.00 $3,778.00 STATE FARM INS -$2,141.15 $2,340.96 -$4,482.11
Apr 2025 $221.96 $221.96 $0.00 $0.00 $2,119.00 -$2,119.00 STATE FARM INS -$1,919.19 $443.92 -$2,363.11
(estimate)
May 2025 $221.96 $221.96 $0.00 $0.00 $0.00 $0.00 -$1,697.23, $665.88 -$2,363.11
(estimate)
Totals $3,203.18 $2,663.52 $0.00 = $5,197.86 $2,663.52 $2,363.11

If the activity contains (estimate), then “deposits to" or "payments from" escrow or both are estimated amounts that have not actually occurred.

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Escrow account projections from June 2025 to May 2026

What we
Payments to expect to Projected escrow Balance required

Date escrow pay out Description balance in the account
May 2025 Starting balance -$1,697.23 $1,256.72
Jun 2025 $418.88 $0.00 -$1,278.35 $1,675.60
Jul 2025 $418.88 $0.00 -$859.47 $2,094.48
Aug 2025 $418.88 $0.00 $440.59 $2,513.36
Sep 2025 $418.88 $0.00 -$21.71 $2,932.24
Oct 2025 $418.88 $0.00 $397.17 $3,351.12
Nov 2025 $418.88 $0.00 $816.05 $3,770.00
Dec 2025 $418.88 $0.00 $1,234.93 $4,188.88
Jan 2026 $418.88 $0.00 $1,653.81 $4,607.76
Feb 2026 $418.88 $0.00 $2,072.69 $5,026.64
Mar 2026 $418.88 $1,248.63 PHILADELPHIA CITY $1,242.94 $4,196.89
Apr 2026 $418.88 $3,778.00 STATE FARM INS OTe aval
May 2026 $418.88 $0.00 =$1,697.30 $1,256.65
Totals $5,026.56 $5,026.63

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